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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

WILLIAM C. RODEN, M.D.,                      §
                                             §
      Plaintiff,                             §
                                             §
v.                                           §         C.A. No. 1:15-cv-00255-RP
                                             §
THE PAUL REVERE LIFE                         §
INSURANCE COMPANY,                           §
                                             §
      Defendant.                             §

                   STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff William C. Roden, M.D. (“Plaintiff”) and Defendant The Paul Revere

Life Insurance Company (“Defendant”) (together, the “Parties”) announce to the Court

that the matters in controversy between them have been settled and that the consideration

therefore has been paid in full and received.        In accordance with the Settlement

Agreement and Release between the Parties, Plaintiff, and Defendant stipulate as follows:

      1.      That all claims, demands, debts, or causes of action asserted or assertable

herein by and between the Parties be DISMISSED WITH PREJUDICE; and

      2.      That all attorneys’ fees and costs be borne by the party incurring them.




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AGREED AND APPROVED:

By: /s/ Jon Michael Smith (w/permission)
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ATTORNEYS FOR DEFENDANT

                           CERTIFICATE OF SERVICE

      I hereby certify that on this 18th day of January, 2016, a true and correct copy of

the foregoing document has been sent via the ECF system to Mr. Jon Michael Smith,

3305 Northland Drive, Suite 500, Austin, Texas 78731.


                                               /s/ Dennis M. Lynch
                                               Dennis M. Lynch


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